                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN

IN THE MATTER OF:                                   Case No.: 22-41056
                                                    Chapter 13
      Jennifer Moore                                Judge: Maria L. Oxholm

                            Debtor(s)
______________________________________/
STIPULATION TO ADJOURN HEARING OTHER THAN §341 MEETING
      The undersigned parties agree to the entry of an Order to Adjourn Hearing
Other Than §341 Meeting as evidenced by the attached exhibit A for the reason
stated in the Order.
      Within three (3) days of the date of execution of this Stipulation, the party
with the checked box below shall submit this Stipulation and the proposed Order to
the Court.
OFFICE OF THE CHAPTER 13 STANDING
TRUSTEE, DAVID WM. RUSKIN

   /s/ JOHN P. KAPITAN ______________
DAVID Wm. RUSKIN (P26803), Trustee
LISA K. MULLEN (P55478), Staff Attorney
JOHN P. KAPITAN (P61901), Staff Attorney
1100 Travelers Tower, 26555 Evergreen Road
Southfield, MI 48076-4251
(248) 352-7755

   /s/John A. Steinberger__________              ____________________________
Attorney for Debtor(s) Signature              Creditor Signature
John A. Steinberger P30812                    __________________________
John A. Steinberger & Associates              Print Name
17515 W. Nine Mile Rd, Suite 420              ______________________________
Southfield, MI 48075                          ______________________________
248.559.4055/john@steinbergerlaw.com
Date: July 15, 2022




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                      EASTERN DISTRICT OF MICHIGAN

IN THE MATTER OF:                                      Case No.: 22-41056
                                                       Chapter 13
Jennifer Moore                                         Judge: Maria L. Oxholm

                            Debtor(s)
______________________________________/

       ORDER ADJOURNING HEARING OTHER THAN §341 MEETING
THIS MATTER came before the Court on the filing of a Stipulation Adjourning
Hearing Other Than §341 Meeting (ECF#29). The Court has reviewed the
pertinent pleadings and is advised in the premises;

(Only those boxes checked apply):
   Motion to Dismiss Case             Plan Confirmation             Plan Modification
   Motion for Relief from Stay as to creditor: __________________
   Motion for Loan Modification
   Objection to Proof of Claim #: _________         Other: _______________________
IT IS HEREBY ORDERED THE ABOVE REFERENCED MATTER(S) IS/ARE
ADJOURNED FROM July 18, 2022 TO November 14, 2022 AT 1:30 PM.
IT IS FURTHER ORDERED (only those boxes checked apply):
   Debtor shall file and serve ______________________________________ on or
  before _________.
   Debtor shall provide _______________________________ to the Trustee on or
  before _________.
   Debtor shall be 100% current on trustee’s records from 7/18/2022 to 11/04/2022.
IT IS FURTHER ORDERED (only those boxes checked apply):
   If any of the above is not completed by the date specified, the case may be dismissed
  without further notice or hearing upon the filing by the Trustee of an affidavit of non-
  compliance.
   If any of the above is not completed by the date specified, the automatic stay as to the
property described as __________________________________________ may be lifted
without further notice or hearing upon the filing by the Creditor herein of an affidavit of
non-compliance.




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